
917 So.2d 1116 (2005)
Robert G. WESTERFIELD, Sr.
v.
LANE MEMORIAL HOSPITAL, Rodney Cook, Christine Heath &amp; Jeff Haydel.
No. 2005-C-1526.
Supreme Court of Louisiana.
December 16, 2005.
In re Westerfield, Robert G. Sr.;  Plaintiff; Applying for Writ of Certiorari and/or Review, Parish of E. Baton Rouge, 19th Judicial District Court Div. A, No. 476,300; to the Court of Appeal, First Circuit, No. 2004 CA 1009.
Denied.
CALOGERO, C.J., would grant.
